        Case:17-11810-MER Doc#:45 Filed:07/08/17                              Entered:07/08/17 22:38:33 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 17-11810-MER
Judith Jean Schneider                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: cosior                       Page 1 of 1                          Date Rcvd: Jul 06, 2017
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 08, 2017.
db             +Judith Jean Schneider,   4316 East 113th Place,   Thornton, CO 80233-2609

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 08, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 6, 2017 at the address(es) listed below:
              Chapter 13 Trustee - Zeman    on behalf of Trustee Sally Zeman mail@ch13colorado.com
              Michael J. Watton    on behalf of Debtor Judith Jean Schneider wlgdnvr@wattongroup.com
              Sally Zeman     mail@ch13colorado.com, szeman@ecf.epiqsystems.com
              Thomas A. Arany    on behalf of Debtor Judith Jean Schneider jdrewicz@wattongroup.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 5
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                         The Honorable Michael E. Romero


    In re:
                                               Case No. 17-11810 MER
    JUDITH JEAN SCHNEIDER
                                               Chapter 13
        Debtor.

                                          ORDER

      THIS MATTER comes before the Court on Debtor’s Certificate and Motion to
   Determine Notice, filed with the Court on July 3, 2017. The Court, being advised in
   the premises, ORDERS that:
   1. Confirmation of Debtor’s Chapter 13 plan filed May 16, 2017 is DENIED. All
      pending objections are deemed moot. Any party desiring to object to a future
      plan must file a new objection.
   2. The confirmation hearing currently scheduled for July 10, 2017 is VACATED.
      The Court will conduct a non-evidentiary confirmation hearing on a trailing
      docket on Monday, September 18, 2017, at 1:30 p.m. in Courtroom C, U.S.
      Custom House, 721 19th Street, Denver, Colorado. Absent the entry of the
      order confirming the plan or rescheduling the hearing, Debtor’s counsel is
      required to appear at the confirmation hearing. If a telephonic appearance is
      allowed, the docket posted on the Court’s website will include the call-in
      information.
   3. On or before July 24, 2017, the Debtor is ordered to file an amended Chapter
      13 plan with a notice in substantial conformity with L.B.R. 3015-1.8 to all
      creditors and parties in interest, which notice establishes the deadline of
      August 23, 2017, for the filing of objections to confirmation. Failing to file the
      amended plan, notice and a certificate of service by the above date shall
      establish cause for dismissal of the within case.
   4. If the confirmation involves a contested factual issue regarding presentation of
      evidence, the hearing will be used as a status and scheduling conference
      wherein the Court will set the appropriate dates and deadlines for an evidentiary
      hearing. If objections are filed to the amended plan, the Debtor shall file a
      certificate and motion to determine notice, pursuant to L.B.R. 3015(g). If no
      objections are received to the amended plan, the Debtor shall file a verification
      in compliance with L.B.R. 3015(f). Either a verification or a certificate and
      motion to determine notice must be filed on or before September 12,
      2017.


    Dated July 6, 2017                         BY THE COURT:


                                              _________________________
                                              Michael E. Romero, Chief Judge
                                              United States Bankruptcy Court
